Clendon H. Sheen, as executor of the estate of Carrie L. Sheen, brought an action against the city of Norwood for damages for the appropriation of property.
In the trial court he recovered a judgment in the sum of $6,000 against the city of Norwood, and this action is prosecuted to reverse that judgment.
Carrie L. Sheen owned a residence and two lots in *Page 340 
Norwood in 1922. Charles L. Nead at that time laid out a subdivision and constructed a sewer in the street, which the city of Norwood afterwards took over, and the city permitted the sewage from the subdivision to flow over and upon the Sheen property for a period of about four years.
The city of Norwood claims that if any cause of action existed, it existed by reason of the creation of a nuisance, and that the action abated on the death of Carrie L. Sheen. Clendon H. Sheen, as executor, claims his property was appropriated.
The disposal of sewage is a governmental function. City ofMansfield v. Balliett, 65 Ohio St. 451, 63 N.E. 86, 58 L.R.A., 628.
There is no question that the act of the city of Norwood in permitting the sewage to flow over and upon the plaintiff's property constituted an appropriation of property to that extent. In the case of Schneider v. Brown et al., Commrs., 33 Ohio App. 269,  169 N.E. 307, it was held that the temporary use of property was an appropriation for that purpose. So, in the case at bar, the using of the property for the disposal of sewage was an appropriation to that extent of the property.
The city also claims that the verdict is excessive and against the weight of the evidence. The record discloses that the testimony of the plaintiff fixed the rental value of the property between twelve and sixteen hundred dollars per year, and it was used by the city of Norwood for about four years. The city did not offer any testimony, so the verdict of the jury cannot be questioned, as it was based on the only testimony introduced in the case. This court cannot substitute its judgment for that of the jury, and, while the verdict seems excessive, the court is powerless to modify. *Page 341 
The judgment of the court of common pleas must therefore be affirmed.
Judgment affirmed.
ROSS, P.J., and HAMILTON, J., concur in the judgment of affirmance.